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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                    )
 In re:                                             )   Chapter 11
                                                    )
 QUORUM HEALTH CORPORATION,                         )   Case No. 20-10766 (BLS)
                                                    )
                Reorganized Debtor.                 )   Jointly Administered
                                                    )
                                                    )
                                                    )
 DANIEL H. GOLDEN, AS LITIGATION                    )
 TRUSTEE OF THE QHC LITIGATION                      )
 TRUST, AND WILMINGTON SAVINGS                      )
 FUND SOCIETY, FSB, SOLELY IN ITS                   )
 CAPACITY AS INDENTURE TRUSTEE                      )
                                                    )
                Plaintiffs,                         )
                                                    )
 v.                                                 )   Adv. Proc. No. 21-51190 (BLS)
                                                    )
 COMMUNITY HEALTH SYSTEMS, INC.;                    )   Re: Adv. D.I. 54
 CHS/COMMUNITY HEALTH SYSTEMS,                      )
 INC.; REVENUE CYCLE SERVICE CENTER,                )
 LLC; CHSPSC, LLC; PROFESSIONAL                     )
 ACCOUNT SERVICES, INC.; PHYSICIAN                  )
 PRACTICE SUPPORT, LLC; ELIGIBILITY                 )
 SCREENING SERVICES, LLC; W. LARRY                  )
 CASH; RACHEL SEIFERT; ADAM                         )
 FEINSTEIN; AND CREDIT SUISSE                       )
 SECURITIES (USA) LLC,                              )
                                                    )
                Defendants.                         )
                                                    )

                              NOTICE OF COMPLETION OF BRIEFING

          PLEASE TAKE NOTICE that briefing is complete on Quorum Health Corporation’s

Motion to Intervene [Adv. D.I. 54] (the “Motion to Intervene”).




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          PLEASE TAKE FURTHER NOTICE that Quorum, by and through its undersigned

counsel, advises the Court that the following filings are relevant to the Motion to Intervene and

will be delivered to chambers:

                1. Quorum Health Corporation’s Motion to Intervene [Adv. D.I. 54; filed February 7,
                   2022];

                2. Plaintiffs' Response to Quorum Health Corporation's Motion to Intervene [Adv.
                   D.I. 59; filed February 22, 2022];

                3. Memorandum (I) in Support of Defendants Community Health Systems, Inc.,
                   CHS/Community Health Systems, Inc., Revenue Cycle Service Center, LLC,
                   CHSPSC, LLC, Professional Account Services, Inc., Physician Practice Support,
                   LLC, Eligibility Screening Services, LLC, W. Larry Cash, Rachel Seifert, and Adam
                   Feinstein's Opposition to Quorum's Motion to Intervene and (II) in Support of
                   Defendants Community Health System, Inc., W. Larry Cash, and Rachel Seifert's
                   Motion to Stay Litigation Pending Arbitration [Adv. D.I. 60; filed March 7, 2022];

                4. Declaration of Gary A. Orseck in Support of Memorandum (I) in Support of
                   Defendants Community Health Systems, Inc., CHS/Community Health Systems,
                   Inc., Revenue Cycle Service Center, LLC, CHSPSC, LLC, Professional Account
                   Services, Inc., Physician Practice Support, LLC, Eligibility Screening Services,
                   LLC, W. Larry Cash, Rachel Seifert, and Adam Feinstein's Opposition to Quorum's
                   Motion to Intervene and (II) in Support of Defendants Community Health System,
                   Inc., W. Larry Cash, and Rachel Seifert's Motion to Stay Litigation Pending
                   Arbitration [Adv. D.I. 62; filed March 7, 2022];

                5. Quorum Health Corporation's Reply in Support of Motion to Intervene [Adv. D.I.
                   78; filed April 18, 2022]; and

                6. Joint Request for Oral Argument in Connection with Quorum Health Corporation’s
                   Motion to Intervene [Adv. D.I. 93; filed May 16, 2022].




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Dated: May 16, 2022
Wilmington, Delaware                             Respectfully submitted,

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 Attorneys for Quorum Health Corporation




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